         Case 2:15-cr-00144-SMJ          ECF No. 460        filed 05/27/16     PageID.1595 Page 1 of 1
O PS 8
(3/15)
                                                                                                      FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF WASHINGTON

                                                         for
                                          Eastern District of Washington                     May 27, 2016
                                                                                                 SEAN F. MCAVOY, CLERK




U.S.A. vs.                  Broadnax Jr., Kevin                       Docket No.         0980 2:15CR00144-SMJ-10


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Charles J. Kuipers, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Kevin Broadnax, Jr., who was placed under pretrial release supervision by the Honorable U.S.
District Judge Salvador Mendoza sitting in the court at Richland, Washington, on the 12th day of May, 2016, under the
following conditions:

Condition #13: Defendant shall submit to random urinalysis testing as directed by the United States Probation/Pretrial
Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #3: The defendant failed to report for a random urine test on May 25, 2016.

     PRAYING THAT THE COURT WILL INCORPORATE THE VIOLATION(S) CONTAINED IN THIS
           PETITION WITH THE OTHER VIOLATIONS PENDING BEFORE THE COURT.

                                                                        I declare under the penalty of perjury
                                                                        that the foregoing is true and correct.
                                                                        Executed on:       May 26, 2016
                                                                by      s/Charles J. Kuipers
                                                                        Charles J. Kuipers
                                                                        U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[XX] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                          Signature             Officer
                                                                          Signature of Judicial Of
                                                                                                O ffi
                                                                                                   ficer

                                                                            05/27/2016
                                                                          Date
